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                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE EASTERN DISTRICT OF VIRGINIA
                                  (Newport News Division)

 JAMES T. PARKER, II, et al.                     )
                                                 )
         Plaintiffs,                             )
                                                 )
 v.                                              )      Case No: 4:16-cv-00156-MSD-DEM
                                                 )
 FREEDOM MORTGAGE                                )
 CORPORATION, et al.,                            )
                                                 )
         Defendants.                             )
                                                 )

                            ANSWER AND DEFENSES
                OF DEFENDANT, FREEDOM MORTGAGE CORPORATION

                 Defendant, Freedom Mortgage Corporation (“Freedom Mortgage”), by counsel,

 and for its Answer and Defenses to the Complaint of Plaintiffs, James T. Parker, II, and Debra L.

 Parker (“Plaintiffs”), states as follows:

                                     As to Preliminary Statement

                 1.         The allegations contained in this paragraph merely purport to

 characterize what claims and remedies Plaintiffs are seeking in this action; therefore, no response

 is required.

                                     As to Jurisdiction and Venue

                 2.         The allegations of this paragraph constitute a legal conclusion to which

 no response is required.

                 3.     Admitted only that, upon information and belief, Plaintiffs are citizens of

 the Commonwealth of Virginia. Further responding, the allegations of this paragraph constitute

 a legal conclusion to which no response is required.
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                                           As to Parties

                4.     Admitted only that Plaintiff, James T. Parker, II is a natural person. The

 remaining allegation in this paragraph constitutes a legal conclusion to which no response is

 required.

                5.     Admitted only that Plaintiff, Debra L. Parker is a natural person. The

 remaining allegation in this paragraph constitutes a legal conclusion to which no response is

 required.

                6.     Denied as stated. Rather, Freedom Mortgage is a New Jersey corporation,

 duly authorized to transact business in the Commonwealth of Virginia.              The remaining

 allegations in this paragraph constitute legal conclusions to which no response is required.

                7.     The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

                8.     The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

                9.     The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.




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               10.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

               11.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

               12.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

               13.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

               14.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that

 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

               15.    The allegations in this paragraph are directed to either Experian, Equifax

 or Trans Union, and therefore, no response by Freedom Mortgage is required. To the extent that




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 the allegations of these paragraphs could be construed as pertaining to Freedom Mortgage,

 Freedom Mortgage responds as follows: Denied.

                                            As to Facts

                16.     Admitted, upon information and belief.

                17.     The allegations of this paragraph purport to characterize a promissory

 note, which is a document in writing that speaks for itself, and any interpretations or

 characterizations inconsistent thereof are denied.

                18.     Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph, and, therefore, they are

 deemed denied.

                19.     The allegations of this paragraph purport to characterize a letter, which is

 a document in writing that speaks for itself, and any interpretations or characterizations

 inconsistent thereof are denied. Further responding admitted only that beginning September 1,

 2013, Plaintiffs’ monthly mortgage payment was $775.74.

                20.     Denied as stated. Rather, servicing of Plaintiffs’ loan was assigned to

 Freedom Mortgage.

                21.     Admitted only that Plaintiffs’ escrow payment increased beginning in

 November, 2014, and that Plaintiffs made certain monthly mortgage payments through an

 automatic checking account debit.

                22.     Admitted in part, denied in part.     It is admitted only that Plaintiffs’

 monthly mortgage payment increased from $778.29 to $1,196.96 in or around January, 2016, due

 to an escrow account shortage. It is denied that the payment amount was “incorrectly changed.”




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                23.     Denied as stated. Freedom Mortgage admits only that the change to

 Plaintiffs’ mortgage payment occurred as a result of a real estate tax payment remitted to the City

 of Newport News by Ocwen Loan Servicing, LLC (“Ocwen”), due for the tax year 2006, which

 resulted in an escrow shortage.

                24.     Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph relating to what information

 Plaintiffs allegedly “learned”, and, therefore, they are deemed denied. Further responding,

 denied that any real estate taxes paid by Ocwen were in error, and admitted that real estate taxes

 paid by Ocwen were charged to Plaintiffs’ escrow account.

                25.     Admitted in part, denied in part. It is admitted only that Plaintiffs have

 been making monthly payments of $778.29 toward their home mortgage loan, and that payments

 have been applied consistent with the underlying loan agreement. The remaining allegations in

 this paragraph are denied.

                26.     The allegations of this paragraph purport to characterize account credit

 tradelines, which are statements in writing that speak for themselves, and any interpretations or

 characterizations inconsistent thereof are denied.

                27.     Denied.

                28.     The allegations of this paragraph purport to characterize written

 correspondence from Freedom Mortgage to Plaintiffs, which are documents in writing that speak

 for themselves, and any interpretations or characterizations inconsistent thereof are denied.

                29.     The allegations of this paragraph purport to characterize written

 correspondence from Plaintiffs to Freedom Mortgage, which is a document in writing that speak

 for itself, and any interpretations or characterizations inconsistent thereof are denied. Further



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 responding, the allegations contained in this paragraph concerning the sending of an alleged

 Qualified Written Request constitute a legal conclusion to which no response is required.

                30.     The allegations in this paragraph constitute a legal conclusion to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: It is denied that Freedom Mortgage failed to respond to any proper Qualified Written

 Request from Plaintiffs sent to the appropriate designated address.

                31.     Denied.

                32.     Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph, and, therefore, they are

 deemed denied.

                33.     The allegations of this paragraph purport to characterize written credit

 reports, which are documents in writing that speak for themselves, and any interpretations or

 characterizations inconsistent thereof are denied.

                34.     Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph concerning Plaintiffs’ alleged

 frustration and stress, and, therefore, they are deemed denied. The remaining allegations of this

 paragraph purport to characterize written correspondence, which are documents in writing that

 speak for themselves, and any interpretations or characterizations inconsistent thereof are denied.

                35.     Freedom Mortgage lacks knowledge or information; sufficient to form a

 belief about the truth of the allegations concerning what information was submitted by Plaintiff.

 Freedom Mortgage further responds that the information allegedly submitted by Plaintiffs speaks

 for itself, and any interpretations or characterizations inconsistent therewith are denied. Further

 responding, Freedom Mortgage denies that any delinquencies being reported were inaccurate.



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                  36.    Denied.     Freedom Mortgage received credit reporting disputes in or

 around June, 2016, and September, 2016.

                  37.    Denied.

                  38.    Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph, and, therefore, they are

 deemed denied.

                  39.    Admitted in part, denied in part.     It is admitted only that Freedom

 Mortgage received credit reporting disputes in or around June, 2016, and September, 2016, and

 that one or more of these disputes were submitted to Freedom Mortgage by Experian and

 Equifax.      Freedom Mortgage lacks knowledge or information sufficient to form a belief about

 the truth of the remaining allegations concerning the submission of Plaintiffs’ disputes, and,

 therefore, they are deemed denied. Further responding, Freedom Mortgage denies that it failed

 and refused to investigate and correct inaccurate reporting and denies that any reporting was

 inaccurate.

                  40.    Freedom Mortgage lacks knowledge or information sufficient to form a

 belief about the truth of the allegations contained in this paragraph, and, therefore, they are

 deemed denied.

                  41.    Denied that the credit reporting of the subject loan account with Freedom

 Mortgage was inaccurate.          Furthermore, certain allegations of this paragraph purport to

 characterize written credit reports, which are documents in writing that speak for themselves, and

 any interpretations or characterizations inconsistent thereof are denied.     As for allegations

 concerning the publishing of any consumer reports to third parties, Freedom Mortgage lacks




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 knowledge or information sufficient to form a belief about the truth of such allegations contained

 in this paragraph, and, therefore, they are deemed denied.

                                            Count One
                  Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681(e)(b)
                               (Experian, Trans Union and Equifax)

                 42.       Freedom Mortgage incorporates its responses to the foregoing paragraphs

 as if fully set forth herein.

                 43- 46.          The allegations of this Count of the Complaint are directed to

 either Experian, Equifax or Trans Union, and therefore, no response by Freedom Mortgage is

 required. To the extent that the allegations of these paragraphs could be construed as pertaining

 to Freedom Mortgage, Freedom Mortgage responds as follows: Denied.

                                            Count Two
                  Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681(i)(a)
                               (Experian, Trans Union and Equifax)

                 47.       Freedom Mortgage incorporates its responses to the foregoing paragraphs

 as if fully set forth herein.

                 48 - 54.         The allegations of this Count of the Complaint are directed to

 either Experian, Equifax or Trans Union, and therefore, no response by Freedom Mortgage is

 required. To the extent that the allegations of these paragraphs could be construed as pertaining

 to Freedom Mortgage, Freedom Mortgage responds as follows: Denied.

                                         Count Three
         Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681s-2(b)(1)(A) and (B)
                                     (Freedom Mortgage)

                 55.       Freedom Mortgage incorporates its responses to the foregoing paragraphs

 as if fully set forth herein.




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                56.     The allegations contained in this paragraph constitute a legal conclusion to

 which no answer is required.      To the extent any response is required, Freedom Mortgage

 response as follows: Denied.

                57.     The allegations contained in this paragraph constitute a legal conclusion to

 which no answer is required.      To the extent any response is required, Freedom Mortgage

 response as follows: Denied.

                58.     Admitted only that Freedom Mortgage receives credit history disputes

 submitted to consumer reporting agencies through “E-Oscar.”           The remaining allegations

 contained in this paragraph purport to characterize an automated system used to create and

 respond to consumer credit history disputes, and any characterizations inconsistent thereof are

 denied.

                59.     The allegations contained in this paragraph purport to characterize an

 automated system used to create and respond to consumer credit history disputes, and any

 characterizations inconsistent thereof are denied.

                60.     Denied as stated. Rather, when a consumer disputes credit reporting

 relating to a Freedom Mortgage account with a consumer reporting agency, it receives that

 dispute through the E-Oscar system in the form of an “automated credit dispute verification”

 (“ACDV”) form.

                61.     Admitted only that Freedom Mortgage reasonably reviewed and

 investigated Plaintiffs’ credit history dispute, and that it properly verified the accuracy of the

 account trade line reported. The remainder of the allegations in this paragraph are denied.




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                 62.      Freedom Mortgage lacks knowledge or information sufficient to form a

  belief about the truth of the allegations contained in this paragraph, and, therefore, they are

  deemed denied.

                 63.      The allegations of this paragraph contain hypothetical facts to which no

  response is required.      To the extent any response is required, Freedom Mortgage response as

  follows: Denied.

                 64.      Denied.

                 65.      Denied.

                 66.      The allegations contained in this paragraph constitute a legal conclusion to

  which no answer is required.        To the extent any response is required, Freedom Mortgage

  response as follows: Denied.

                 67.      The allegations contained in this paragraph constitute legal conclusions to

  which no answer is required.        To the extent any response is required, Freedom Mortgage

  response as follows: Denied.

                 68.         The allegations of this paragraph constitute legal conclusions to which

  no response is required.

                 69.      Denied.

                 70.      Denied as stated. During the relevant period of time, Freedom Mortgage

  implemented certain policies and procedures regarding error resolution, including credit

  reporting and, upon information and belief, such procedures were followed with respect to

  Plaintiffs’ alleged credit reporting disputes.




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                  71.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                                          Count Four
          Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681s-2(b)(1)(C) and (D)
                                      (Freedom Mortgage)

                  72.      Freedom Mortgage incorporates its responses to the foregoing paragraphs

  as if fully set forth herein.

                  73.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                  74.      The allegations of this paragraph purport to characterize ACDV dispute

  forms, which are documents in writing that speak for themselves, and any interpretations or

  characterizations inconsistent thereof are denied.

                  75.      Denied.

                  76.      Denied as stated. It is admitted only that Freedom Mortgage is aware that

  Plaintiffs communicated certain disputes regarding the subject account to Freedom Mortgage.

  Freedom Mortgage responded directly to Plaintiffs regarding those disputes.

                  77.      The allegations of this paragraph constitute a legal conclusion to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                  78.      Denied.

                  79.      Denied.




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                 80.     Denied as stated. During the relevant period of time, Freedom Mortgage

  implemented certain policies and procedures regarding error resolution, including credit

  reporting, and, upon information and belief, such procedures were followed with respect to

  Plaintiffs’ alleged credit reporting disputes.

                 81.     Freedom Mortgage lacks knowledge or information sufficient to form a

  belief about the truth of such allegations contained in this paragraph, and, therefore, they are

  deemed denied.

                 82.     Denied. It is denied that Freedom Mortgage caused any “failures in this

  case” as it relates to Freedom Mortgage’s obligations under FCRA. Further responding, during

  the relevant period of time, Freedom Mortgage implemented certain policies and procedures

  regarding error resolution, including through credit reporting and, upon information and belief,

  such procedures were followed with respect to Plaintiffs’ alleged credit reporting disputes. Such

  policies and procedures may be updated from time to time. At this time, Freedom Mortgage is

  not aware of any updates to such policies and procedures caused specifically by the allegations

  made by Plaintiffs in their Complaint.

                 83.     The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                 84.     The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.




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                  85.      The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                                            Count Five
             Violation of Real Estate Settlement Procedures Act -12 U.S.C. § 2605(e)
                                       (Freedom Mortgage)

                  86.      Freedom Mortgage incorporates its responses to the foregoing paragraphs

  as if fully set forth herein.

                  87.      The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent that this paragraph could be construed as alleging any facts,

  Freedom Mortgage responds as follows: The allegation of this paragraph purport to characterize

  correspondence allegedly sent to Freedom Mortgage by Plaintiffs, which are documents in

  writing that speak for themselves, and any interpretations or characterizations inconsistent

  thereof are denied.

                  88.      The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent that this paragraph could be construed as alleging any facts,

  Freedom Mortgage responds as follows: Denied.

                  89.      It is denied that Freedom Mortgage failed to respond to any QWR

  properly sent to the designated address.

                  90 (a) – (d).   The allegations of this paragraph, including subparagraphs (a)

  through (d), constitute legal conclusions to which no response is required. To the extent any

  response is required, Freedom Mortgage responds as follows: Denied.




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                 91.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                 92.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                 93.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                 94.       The allegations of this paragraph constitute legal conclusions to which no

  response is required. To the extent any response is required, Freedom Mortgage responds as

  follows: Denied.

                                     AFFIRMATIVE DEFENSES

                 Freedom Mortgage asserts affirmative defenses as follows:


                                       First Affirmative Defense

                 Plaintiffs have failed to state any claims against Freedom Mortgage upon which

  relief may be granted.

                                      Second Affirmative Defense

                 Plaintiffs’ claims may be barred by the doctrines of estoppel, waiver or laches.

                                      Third Affirmative Defense

                 Plaintiffs are not entitled to any recovery to the extent their claims are barred the

  statutes of limitations for claims under FCRA and RESPA.




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                                     Fourth Affirmative Defense

                  Plaintiffs’ claims are barred and/or diminished to the extent that they failed to

  take proper and reasonable steps to avoid or to mitigate the damages alleged.

                                      Fifth Affirmative Defense

                  Plaintiffs’ damages are speculative, lack any viable legal basis, and are not

  causally connected to Freedom Mortgage’s alleged credit reporting.

                                      Sixth Affirmative Defense

                  Plaintiffs have failed to state any grounds to recover attorneys’ fees.

                                     Seventh Affirmative Defense

                  Freedom Mortgage complied with FCRA and is entitled to each and every defense

  stated in FCRA and any and all limitations of liability.

                                     Eighth Affirmative Defense

                  At all relevant times, Freedom Mortgage acted within the absolute and qualified

  privileges afforded it under FCRA, the Constitution of the United States, applicable state

  Constitutions, and common law.

                                      Ninth Affirmative Defense

                  Freedom Mortgage’s statements, if any, concerning Plaintiffs were true or

  substantially true.

                                      Tenth Affirmative Defense

                  Plaintiffs’ damages are the result of acts or omissions committed by other parties

  over whom Freedom Mortgage had no responsibility or control.

                                    Eleventh Affirmative Defense

            Freedom Mortgage did not commit any intentional, willful, or malicious acts.



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                                    Twelfth Affirmative Defense

                 With respect to Plaintiffs’ demands for punitive damages, Freedom Mortgage

  incorporates by reference all standards of limitations regarding the determination and

  enforceability of punitive damage awards which arose in the decisions of BMW of North

  America v. Gore, 517 U.S. 559 (1996), Cooper Industries, Inc. v. Leatherman Tool Group, Inc.,

  532 U.S. 424 (2001), and State Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S.

  408 (2003).

                                   Thirteenth Affirmative Defense

                 Plaintiffs’ written correspondence allegedly sent to Freedom Mortgage was not a

  “qualified written request” as that term is defined under RESPA.

                                  Fourteenth Affirmative Defense

                 Freedom Mortgage established a separate and exclusive office and address for the

  receipt and handling of qualified written requests, and Plaintiffs’ purported QWR was not sent to

  that duly designated address.

                                   Fifteenth Affirmative Defense

                 Freedom Mortgage reserves its right to set forth additional defenses if and when

  additional facts become known.

                                      RELIEF REQUESTED

                 Defendant, Freedom Mortgage Corporation, requests entry of an Order: (a)

  dismissing the Complaint in its entirety with prejudice, (b) granting judgment in favor of

  Freedom Mortgage Corporation and against Plaintiffs, (c) granting Freedom Mortgage such other

  and further relief as this Court deems necessary and just.




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                                    Respectfully submitted,

                                    /s/ John A. Nader
                                    John A. Nader (VSB No. 73259)
                                    Stradley Ronon Stevens & Young, LLP
                                    1250 Connecticut Ave., N.W., Suite 500
                                    Washington, D.C. 20036
                                    Tel.: (202) 507-6415
                                    Fax: (202) 822-0140
                                    jnader@stradley.com

                                    Counsel for Defendant,
                                    Freedom Mortgage Corporation




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                                 CERTIFICATE OF SERVICE

         I, hereby certify that on December 2, 2016, I filed the foregoing Answer with the Clerk of

  the Court using the CM/ECF, and that I served a copy of the same by first class U.S. Mail on

  December 5, 2016 upon:


  Leonard C. Bennett, Esq.                         Experian Information Solutions, Inc.
  Craig Marchiando, Esq.                           c/o David N. Anthony, Registered Agent
  Consumer Litigation Associates, P.C.             1001 Haxall Point
  763 Clyde Morris Blvd., 1-A                      Richmond, Va. 23219
  Newport News, Va. 23601
  Tel.: (757) 930-3660                             Defendant
  Fax: (757) 930-3662
  lenbennett@clalegal.com
  craig@clalegal.com

  Counsel for Plaintiffs,
  James T. Parker, II and
  Debra L. Parker



  Trans Union, LLC                                 Equifax Information Services, LLC
  c/o Corporation Services Company,                c/o Corporation Service Company,
  Registered Agent                                 Registered Agent
  Bank of America Center, 16th Floor               Bank of America Center, 16th Floor
  1111 East Main Street                            1111 East Main Street
  Richmond, Va. 23219                              Richmond, Va. 23219

  Defendant                                        Defendant




                                              /s/ John A. Nader
                                              John A. Nader




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